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10                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
11                                OAKLAND DIVISION
12
      DEFENSE FOR CHILDREN                             No. 4:23-cv-05829-JSW
13
      INTERNATIONAL – PALESTINE; AL-
      HAQ; AHMED ABU ARTEMA;
14
      MOHAMMED AHMED ABU ROKBEH;                       DEFENDANTS’ OPPOSITION TO
      MOHAMMAD HERZALLAH; A.N.;                        PLAINTIFFS’ MOTION FOR
15
      LAILA ELHADDAD; WAEIL ELBHASSI;                  ADMINISTRATIVE RELIEF
      BASIM ELKARRA; and DR. OMAR EL-                  REGARDING POTENTIAL
16
      NAJJAR,                                          PRESENTATION OF LIVE
                                                       TESTIMONY AT THE HEARING
17
                    Plaintiffs,                        ON PLAINTIFFS’ MOTION FOR
                                                       PRELIMINARY INJUNCTION AND
18
                            v.                         DEFENDANTS’ MOTION TO
                                                       DISMISS
19
      JOSEPH R. BIDEN, Jr., President of the
      United States; ANTHONY J. BLINKEN,               Hearing: January 26, 2024 at 9:00 am
20
      United States Secretary of State; LLOYD
      JAMES AUSTIN III United States Secretary
21
      of Defense, in their official capacities,        Honorable Jeffrey S. White
                                                       United States District Judge
22
                    Defendants.
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     DEFS.’ OPP’N TO PLS.’ MOT. FOR ADMIN. RELIEF REGARDING POTENTIAL PRESENTATION OF LIVE
     TESTIMONY AT HEARING ON PLS.’ MOT. FOR PRELIMINARY INJ. & DEFS.’ MOT. TO DISMISS,
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1           Defendants oppose what Plaintiffs characterized as an “Unopposed Motion for
2    Administrative Relief for In-Person and Zoom Hearing on Plaintiffs’ Motion for Preliminary
3    Injunction and Defendants’ Motion to Dismiss,” ECF No. 39, to the extent the motion seeks the
4    Court’s permission to present live testimony at the January 26, 2024 hearing on Defendants’
5    Motion to Dismiss, ECF No. 38, and Plaintiffs’ Motion for Preliminary Injunction, ECF No. 19.
6    The motion accurately notes that Defendants defer to the Court on whether the January 26 hearing
7    should be in person, but Plaintiffs failed to confer with Defendants regarding the presentation of
8    live testimony at the hearing. Defendants oppose an evidentiary hearing because their motion to
9    dismiss and opposition to the motion for preliminary injunction raise purely legal arguments. Even
10   if that were not so, the law in this Circuit is clear that courts can and should decide preliminary
11   injunction motions on the written record, and there is no reason to depart from that approach here.
12          In this Circuit, “[a] district court is not required to hold an evidentiary hearing before
13   denying a motion seeking a preliminary injunction.” Gonzalez v. Ahern, No. 19-CV-07423-JSC,
14   2020 WL 3470089, at *2 (N.D. Cal. June 25, 2020); see, e.g., Stanley v. Univ. of S. Cal., 13 F.3d
15   1313, 1326 (9th Cir. 1994) (“In this circuit, the refusal to hear oral testimony at a preliminary
16   injunction hearing is not an abuse of discretion if the parties have a full opportunity to submit
17   written testimony and to argue the matter.”); Kenneally v. Lungren, 967 F.2d 329, 334 (9th Cir.
18   1992) (“We do not indulge a presumption in favor of evidentiary hearings.”); San Francisco-
19   Oakland Newspaper Guild v. Kennedy, 412 F.2d 541, 546 (9th Cir. 1969) (“[T]he rule in this
20   circuit is that in a proceeding on . . . a preliminary injunction . . . the injunction may, in the
21   discretion of the trial court, be granted or denied upon the affidavits.”). The Ninth Circuit
22   expressly disfavors evidentiary hearings “when the magnitude of the inquiry would make it
23   impractical.” Int’l Molders’ & Allied Workers’ Loc. Union No. 164 v. Nelson, 799 F.2d 547, 555
24   (9th Cir. 1986).
25          Under the federal rules, the only requirement is that Defendants have a meaningful
26   opportunity to contest the preliminary injunction motion, see Fed. R. Civ. P. 65(a), and courts have
27   consistently held that the absence of live testimony does not “unfairly deprive[]” a party “of the
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1    chance to show opposition to the issuance of a preliminary injunction.” Int’l Molders, 799 F.2d
2    at 555; see also, e.g., Walsh v. Ahern Rentals, Inc., No. 21-16124, 2022 WL 118636, at *1 (9th
3    Cir. Jan. 12, 2022) (“In this circuit, a district court need not hold an evidentiary hearing before
4    issuing a preliminary injunction—pleadings alone can constitute ‘notice’ for purposes of Federal
5    Rule of Civil Procedure 65(a).”); McGiboney v. Corizon, Case No. 4:18-cv-00529, 2020 WL
6    1666805, at *7 (D. Idaho Apr. 3, 2020) (“[T]his is not a case where one side to the controversy
7    was denied the opportunity to be heard; rather, Defendants presented written argument, an
8    affidavit, and pages of evidence to support their position.”); Fonseca v. Kaiser Permanente Med.
9    Ctr. Roseville, 222 F. Supp. 3d 850, 866 (E.D. Cal. 2016) (“Oral testimony is unnecessary,
10   however, if the parties had an adequate opportunity to submit written testimony and argue the
11   matter.”).
12          Here, there is no reason to depart from the general rule of deciding the preliminary
13   injunction motion on a written record. Plaintiffs filed a 340-paragraph Complaint, ECF No. 1, and
14   a 25-page motion for preliminary injunction to which they attached approximately 775 pages of
15   exhibits. They have had ample opportunity to create a written record. Defendants’ motion to
16   dismiss and opposition to Plaintiffs’ motion for preliminary injunction raises three purely legal
17   arguments, each of which is sufficient ground for dismissal. Even Defendants’ argument regarding
18   the balance of the equities raises only a purely legal argument—that the public and the Government
19   have a strong interest in maintaining the constitutional separation of powers. See Defs.’ Mot. to
20   Dismiss and Mem. in Support and Opp’n to Pls.’ Mot. for Preliminary Inj. at 18-19. No testimony
21   is therefore necessary.1 Moreover, the proposed testimony would be highly “impractical” given
22   “the magnitude of the inquiry” Plaintiffs’ propose. Int’l Molders, 799 F.2d at 555. Plaintiffs have
23   not identified the witnesses and experts they are prepared to present, but given the nearly 775 pages
24   of exhibits they filed with their preliminary injunction motion, Defendants imagine that Plaintiffs
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       To the extent Plaintiffs intend to present expert testimony regarding their legal claims, such
     testimony should be excluded. Aguilar v. Int’l Longshoremen’s Union Local No. 10, 996 F.2d 443,
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     447 (9th Cir. 1992) (“[M]atters of law [are] for the court’s determination” and are “inappropriate
28   subjects for expert testimony”).
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1    are contemplating something far from the type of “simple” hearing for which “little time would be
2    taken” that Ninth Circuit precedent contemplates. Kenneally, 967 F.2d at 334-35.
3                                            CONCLUSION
4           For the foregoing reasons, the Court should deny Plaintiffs’ Motion for Administrative
5    Relief for In-Person and Zoom Hearing to the extent Plaintiffs seek to present live testimony and
6    evidence at the hearing. Defendants defer to the Court regarding whether to hold an in-person
7    hearing while also permitting the hearing to be streamed via the Court’s public Zoom link.
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10   Dated: December 12, 2023                            Respectfully submitted,
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12                                                       Principal Deputy Assistant Attorney General
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                                                         DIANE KELLEHER
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                                                         /s/ JONATHAN D. KOSSAK
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1                                   CERTIFICATE OF SERVICE
2           I hereby certify that on the 12th day of December, 2023, I electronically transmitted the
3    foregoing document to the Clerk of the Court using the ECF system for filing.
4

5    Dated: December 12, 2023                    /s/ Jonathan D. Kossak
                                                 JONATHAN D. KOSSAK
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